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UNITED STATES DISTRICT COURT
EASTERN DISTRICT COURT OF NEW YORK
----------------------------------X
MICROSOFT CORPORATION, a
Washington corporation,

                      Plaintiff,                            MEMORANDUM & ORDER
       -against-
                                                            O5 CV 5796 (DRH)(MLO)
AGA SOLUTIONS, INC., a New York
Corporation, d/b/a/ ADVANCED SOFTWARE
SOLUTIONS and ADVANCED COMPUTER
SOLUTIONS; MITCHELL S. ACKERMAN,
a/k/a/SCOTT SIMON, WANTAMANSION,
and MEGAHERTZ932, an individual; and
LEE K. ACKERMAN, a/k/a/ PASSPORT 2002,
an individual,

                Defendants.
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APPEARANCES:

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Attorneys for Plaintiff
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Plainview, New York 11803
By:    N. Richard Wool

HURLEY, Senior District Judge:

       Plaintiff Microsoft Corporation (“Plaintiff” or “Microsoft”) commenced this lawsuit

asserting various causes of action premised on Defendants’ alleged distribution of counterfeit or
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unlicensed software and components. By Order dated December 7, 2007, the Court granted a

default judgment on liability against Defendant AGA Solutions Inc. By Orders dated November

21, 2008 and April 17, 2009, the Court granted summary judgment on liability against

Defendants Mitchell S. Ackerman (“Mitchell Ackerman”) and Lee K. Ackerman (“Lee

Ackerman”) on Plaintiff’s claims for copyright infringement, trademark infringement, false

designation of origin or approval (15 U.S.C. § 1125(a)(1)), and under the Anti-Counterfeiting

Act (18 U.S.C. § 2318) . On September 1, 2009, Plaintiff dismissed all of its state based claims

against the Defendants and advised the Court that Plaintiff would not be seeking willfulness

enhancements of its statutory damages claims. Presently before the Court is Plaintiff’s unopposed

motion for statutory damages on its claims. For the reasons set forth below, the motion is

granted.

                                      Factual Background

       The relevant facts are set forth in the Court’s Memorandum & Orders dated December 7,

2007, November 21, 2008 and April 17, 2009, familiarity with which is presumed. For present

purposes it is sufficient to note that the uncontested evidence demonstrated that the Defendants

infringed (1) at least 34 of Microsoft’s copyright protected works; and (2) ten of Microsoft’s

trademarks. In addition, Defendants trafficked in no fewer that 902 counterfeit or illicit labels

intended for sale.

                                           Discussion

I. Copyright Damages

       A copyright owner may elect to recover an award of statutory damages in lieu of actual

damages and profits at any time before final judgment is entered. See 17 U.S.C. § 504(c)(1). The


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Copyright Act allows for a minimum award of $750.00 and a maximum award of $30,000.00 for

each copyrighted work infringed, id., unless the infringement is found to be willful, in which case

statutory damages may be awarded up to $150,000.00 per copyrighted work infringed, id. at §

504(c)(2). District Courts have wide discretion in setting damages within the statutory range for

non-willful infringement. See, e.g., Warner Bros. Entm’t Inc. v. RDR Books, 575 F. Supp. 2d

513, 514 (S.D.N.Y. 2008); Microsoft Corp v. McGee, 490 F. Supp. 2d 874, 881 (S.D. Ohio

2007).

         In this case, it is appropriate for Plaintiff to receive the maximum amount of non-willful

statutory damages for each of the 34 copyrighted work infringed by the Defendants. The award

of the maximum amount of damages is supported by, among other things, “the revenues lost by

the plaintiff as a result of defendant’s conduct, and the infringers’ state of mind,” N.A.S. Import,

Corp. v. Chenson Enters., Inc., 968 F.2d 250, 252 (2d Cir. 1992), and “‘the deterrent effect on

others besides the defendant,’” Tiffany Inc. v. Luban, 282 F. Supp. 2d 123, 125 (S.D.N.Y. 2003)

(quoting Fitzgerald Pub. Co. v. Baylor Pub. Co., 807 F.2d 1110, 1117 (2d Cir. 1986).

Defendants sold the infringing products over the internet, giving it access to an unlimited number

of customers. See Tiffany, 282 F. Supp. 2d at 125. While the exact amount of revenues lost by

plaintiff is undeterminable, a raid on Defendants’ business yielded 2,569 units of counterfeit or

infringing products with an estimated retail value of $1,078,722. Moreover, even though

Plaintiff does not seek a willfulness enhancement, it is appropriate for the Court to consider

evidence of willfulness in determining where in the range between $750.00 and $30,000.00

damages should be set. Here, there is evidence of wilfulness, including that Defendants

continued to distribute infringing products even after receiving several cease and desist letters


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from Plaintiff and even after one of their shipments was seized by U.S. Customs. See Knitwaves,

Inc. v. Lollytogs Ltd., 71 F.3d 996, 1010-11 (2d Cir. 1995); Chi-Boy Music v. Charlie Club, Inc.,

930 F.2d 1224, 1227 (7th Cir. 1991).

       Plaintiff is entitled to a total of $1,020,000.00 on its Copyright Act claim (Claim I).

II. Lanham Act Damages

       Microsoft also seeks statutory damages for the ten trademarks that the Defendants have

infringed.1

       “A successful plaintiff is entitled to recover a separate award of statutory damages under

both the Copyright Act and the Lanham Act when a defendant has infringed both its trademarks

and its copyrights, even when by a single act.” Microsoft, 490 F. Supp. 2d at 881. Statutory

damages for trademark infringement range from $1,000.00 up to $200,000.00 per trademark

infringed regardless of willfulness, with enhancement up to $2,000,000.00 per trademark if the

infringement is willful. See 15 U.S.C. § 1117(c). In determining the amount of statutory

damages for Lanham Act violations, the courts look to the same factors used in determining

statutory damages for copyright infringement. See, e.g., Louis Vuitton Malletier & Oakley, Inc. v.

Veit, 211 F. Supp. 2d 567, 583 (E.D. Pa. 2002).

       The same factors which support the award of maximum statutory damages for copyright

infringement, support an award of maximum non-willful statutory damages for trademark

infringement in this case. Plaintiff is entitled to $200,000.00 in statutory damages for each of the

ten trademarks infringed for a total of $2,000,000.00 on its Lanham Act claims (Claims II & III).


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         Although Microsoft has asserted two claims under the Lanham Act, one for trademark
infringement pursuant to 15 U.S.C. § 1114 and one for false designation of origin pursuant to 15
U.S.C. § 1125, it seeks only one set of statutory damages from defendants under the Lanham Act.

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III. Anti-Counterfeiting Act Damages

       The Anti-Counterfeiting Act permits statutory damages “in a sum of not less than

$2,500.00 or more than $25,000, as the court considers appropriate,” for each violation. 18

U.S.C. § 2318(e)(4). Microsoft seeks only the minimum amount of statutory damages for each

of the 902 counterfeit or illicit labels sold or acquired and possessed with the intent to sell.

Plaintiff is entitled to a total of $2,255,000.00 in statutory damages for its Anti-Counterfeiting

Act claim (Claim IV).

                                             Conclusion

       Microsoft’s motion for statutory damages is granted . The Court directs that Plaintiff

Microsoft Corporation recover from the defendants AGA Solutions Inc., Mitchell S. Ackerman

and Lee K. Ackerman, jointly and severally, (1) $1,020,000.00 on the Copyright Act claim

(Claim I); (2) $2,000,000.00 on the Lanham Act claims (Claims II & III); and (3) $2,255,000.00

on the Anti-Counterfeiting Act claim (Claim IV); for a total of $5,275,000.00 and that judgment

be entered accordingly. Upon entry of judgment the Clerk of Court is directed to close this case.

To the extent Plaintiff seeks an award of attorneys’ fees and costs it should submit its request

therefor within fourteen (14) days of entry of judgment in accordance with Rule 54(d)(2) of the

Federal Rules of Civil Procedure.

       SO ORDERED.

Dated: Central Islip, New York
       March 22, 2010

                                                               /s/
                                                               Denis R. Hurley
                                                               Senior District Judge



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